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11                          UNITED STATES DISTRICT COURT
12                                DISTRICT OF NEVADA
13
14    UNITED STATES OF AMERICA,         )          3:05-cr-00098-HDM
                                        )          3:10-cv-00531-HDM
15              Plaintiff/Respondent, )
                                        )
16    vs.                               )          ORDER
                                        )
17    JOHNATHON ROBERTS,                )
                                        )
18              Defendant/Petitioner. )
      _________________________________ )
19
            The defendant’s motion to delay transport (#16) beyond the
20
      time granted by the court on April 3, 2012, is DENIED.             The court
21
      reserves ruling on the balance of the motion until the government
22
      has had an opportunity to respond.
23
            IT IS SO ORDERED.
24
            DATED: This 13th day of April, 2012.
25
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                                  ____________________________
27                                UNITED STATES DISTRICT JUDGE
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